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 1
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 2
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 3   100 Larkspur Landing Circle, Suite 212
 4   Larkspur, CA 94939
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 7   Attorney for Defendants
 8   EDWIN RAMIREZ, JIMENA OLMOS, AND JENNIFER JUAREZ

 9
                                 IN THE UNITED STATES DISTRICT COURT
10
11                                  NORTHERN DISTRICT OF CALIFORNIA
12
13   Boyd Real Property LLC, a California limited               Case No.: 3:10-cv-03142-TEH
14   liability company,
                                                                   ANSWER OF EDWIN RAMIREZ,
15            Plaintiff,                                           JIMENA OLMOS, AND JENNIFER
16                                                                 JUAREZ TO COMPLAINT FOR
     v.                                                            TRESPASS, EJECTION FROM
17                                                                 PRIVATE PROPERTY, FRAUD AND
18   The Mario Juarez Selling Team (form of entity                 DECEIT, CONVERSION,
     unknown); Mario Juarez, an individual; The Neal               FRAUDULENT TRANSFER,
19   Juarez LLC, a California limited liability                    UNLAWFUL BUSINESS PRACTICES,
20   company; Verdes Bio Fuel Company (form of                     INTENTIONAL & NEGLIGENT
     entity unknown): American First Financial Corp.               INTERFERENCE PROSPECTIVE
21   a California corporation; Fireside California                 ADVANTAGE, AND
22   Group, a California corporation; Francis Mable                INTERFERENCE WITH RIGHT TO
     Nunez, an individual; Erika Jorndening, an                    PURSUE LAWFUL BUSINESS;
23   individual; Edwin Ramirez, an individual;                     DEMAND FOR JURY TRIAL
24   Jimena Olmos, an individual; Jennifer Juarez, an
     individual; Jose Ontiveros, an individual; Dario
25   Laza, an individual, Fernando “El Carinoso”
26   Martinez; an individual, Will Jimenez, an
     individual, Adelberto “TITO” Gutierrez, an
27   individual, Bernardo Villafuerte, an individual,
28   Carmen Acosta, an individual, Delia Dorantes,
     an individual, Eleyna Felix, an individual,
29   Enedina “Dina” Munguia, an individual,
     Ezequiel Zarate, an individual, Frank Coelle, an
30
     individual, Gaberiel Ortiz, an individual, Irma
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
32   PROPERTY, FRAUD AND DECEIT, CONVERSION, FRAUDULENT
                                                                         100 Larkspur Landing Circle, Suite 212
                                                                                  Larkspur, CA 94939
     TRANSFER, UNLAWFUL BUSINESS PRACTICES, INTENTIONAL &
     NEGLIGENT INTERFERENCE PROSPECTIVE ADVANTAGE, AND              Telephone: 415.461.2700 Facsimile: 415.461.2726
     INTERFERENCE WITH RIGHT TO PURSUE LAWFUL BUSINESS;
     DEMAND FOR JURY TRIAL
                                                          -1-
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 1   Reynoso, an individual, Johnathan Izazaga, an
     individual, Rosa Valencia, an individual, Rosalia
 2
     Negron, an individual, Sonia Dominguez, an
 3   individual, Stephanie Candevan, an individual,
     Sue Mei, an individual, Wilfred Negron, an
 4
     individual Does 1-10.,
 5
              Defendants.
 6
 7
             Defendants EDWIN RAMIREZ, JIMENA OLMOS, AND JENNIFER JUAREZ
 8
     (collectively “defendants”) answer the Complaint For Injunctive And Declaratory Relief And
 9
     Damages, as follows:
10
                                  PRELIMINARY STATEMENT OF FACTS
11
             1. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
12
     1 and based on this lack of information and belief deny the allegations therein.
13
             2. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
14
     2 and based on this lack of information and belief deny the allegations therein.
15
             3. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
16
     3 and based on this lack of information and belief deny the allegations therein.
17
             4. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
18
     4 and based on this lack of information and belief deny the allegations therein.
19
             5. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
20
     5 and based on this lack of information and belief deny the allegations therein.
21
             6. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
22
     6 and based on this lack of information and belief deny the allegations therein.
23
             7. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
24
     7 and based on this lack of information and belief deny the allegations therein.
25
                                          JURISDICTION AND VENUE
26
             8. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
27
     8 and based on this lack of information and belief deny the allegations therein.
28
             9. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
29
     9 and based on this lack of information and belief deny the allegations therein.
30
                                                       PARTIES
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
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     DEMAND FOR JURY TRIAL
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 1           10. Defendants lack information or belief sufficient to enable defendants to answer
 2   Paragraph 10 and based on this lack of information and belief deny the allegations therein.
 3           11. Defendants lack information or belief sufficient to enable defendants to answer
 4   Paragraph 11 and based on this lack of information and belief deny the allegations therein.
 5           12. Defendants lack information or belief sufficient to enable defendants to answer
 6   Paragraph 12 and based on this lack of information and belief deny the allegations therein.
 7           13. Defendants lack information or belief sufficient to enable defendants to answer
 8   Paragraph 13 and based on this lack of information and belief deny the allegations therein.
 9           14. Defendants lack information or belief sufficient to enable defendants to answer
10   Paragraph 14 and based on this lack of information and belief deny the allegations therein.
11           15. Defendants lack information or belief sufficient to enable defendants to answer
12   Paragraph 15 and based on this lack of information and belief deny the allegations therein.
13           16. Defendants lack information or belief sufficient to enable defendants to answer
14   Paragraph 16 and based on this lack of information and belief deny the allegations therein.
15           17. Defendants lack information or belief sufficient to enable defendants to answer
16   Paragraph 17 and based on this lack of information and belief deny the allegations therein.
17           18. Defendants lack information or belief sufficient to enable defendants to answer
18   Paragraph 18 and based on this lack of information and belief deny the allegations therein.
19           19. Defendants lack information or belief sufficient to enable defendants to answer
20   Paragraph 19 and based on this lack of information and belief deny the allegations therein.
21           20. Defendants lack information or belief sufficient to enable defendants to answer
22   Paragraph 20 and based on this lack of information and belief deny the allegations therein.
23                                         FACTUAL ALLEGATIONS
24   Plaintiff’s Purchase of 4030 International Blvd., Oakland, CA
25           1. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
26   1 and based on this lack of information and belief deny the allegations therein.
27           2. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
28   2 and based on this lack of information and belief deny the allegations therein.
29   Boyd Real Property Agreement to Engage Mario Juarez and The Mario Juarez Selling Team as
30   General Contractors for Plaza Del Sol.
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
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     DEMAND FOR JURY TRIAL
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 1           3. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
 2   3 and based on this lack of information and belief deny the allegations therein
 3           4. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
 4   4 and based on this lack of information and belief deny the allegations therein
 5   Boyd Real Property Terminates Agreement with Mario Juarez and The Mario Juarez Selling
 6   Team Upon Discovery of Embezzlement Lack of California Contractor’s License: Tenancy for
 7   4030A Terminated as of December 31, 2009.
 8           5. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
 9   5 and based on this lack of information and belief deny the allegations therein
10           6. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
11   6 and based on this lack of information and belief deny the allegations therein
12           7. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
13   7 and based on this lack of information and belief deny the allegations therein
14   Boyd Real Property Obtains Judgment for Possession: Juarez Makes False Statements Under
15   Oath and Engages in Fraudulent Conveyance and Bankruptcy Fraud to Evade Credit
16   Obligations to BRP and Eviction from 4030A.
17           8. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
18   8 and based on this lack of information and belief deny the allegations therein
19   Mario Juarez Initiates Harassment Campaign Against Boyd Real Property; Making False Police
20   Reports; Dumping Trash and Human Waste on BRP’s Property, Interfering with Contracts with
21   Other Tenants and Encouraging Non-payment of Rental Contracts.
22           9. Defendants lack information or belief sufficient to enable defendants to answer Paragraph
23   9 and based on this lack of information and belief deny the allegations therein.
24           10. Defendants lack information or belief sufficient to enable defendants to answer
25   Paragraph 10 and based on this lack of information and belief deny the allegations therein.
26   After the Judgment and then Incidents of Harassment, Boyd Real Property Posted No Trespass
27   Signs and Specifically Notified Juarez and His Legal Counsel Erika Jordening Not to Come onto
28   the Property and Warehouse Space at 4030 International Blvd. and Plaza Del Sol: Both Flaunted
29   the Do Not Trespass Signs.
30
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
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     DEMAND FOR JURY TRIAL
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 1           11. Defendants lack information or belief sufficient to enable defendants to answer
 2   Paragraph 11 and based on this lack of information and belief deny the allegations therein.
 3                           FIRST CAUSE OF ACTION (ALL DEFENDANTS)
 4                                                      Trespass
 5           12. Defendants incorporate herein by reference, as though fully set forth at length,
 6   defendants’ answers to Paragraphs 1 through 11.
 7           13. Defendants lack information or belief sufficient to enable defendants to answer
 8   Paragraph 13 and based on this lack of information and belief deny the allegations therein.
 9           14. Defendants deny every allegation contained in Paragraph 14.
10           15. Defendants lack information or belief sufficient to enable defendants to answer
11   Paragraph 15 and based on this lack of information and belief deny the allegations therein.
12           16. Defendants lack information or belief sufficient to enable defendants to answer
13   Paragraph 16 and based on this lack of information and belief deny the allegations therein.
14           17. Defendants lack information or belief sufficient to enable defendants to answer
15   Paragraph 17 and based on this lack of information and belief deny the allegations therein.
16           18. Defendants lack information or belief sufficient to enable defendants to answer
17   Paragraph 18 and based on this lack of information and belief deny the allegations therein.
18           19. Defendants deny every allegation contained in Paragraph 19.
19           20. Defendants deny every allegation contained in Paragraph 20.
20                          SECOND CAUSE OF ACTION (ALL DEFENDANTS)
21                                        Ejection from Private Property
22                                        (California Civil Code § 33334)
23           21. Defendants incorporate herein by reference, as though fully set forth at length,
24   defendants’ answers to Paragraphs 1 through 20.
25           22. Defendants lack information or belief sufficient to enable defendants to answer
26   Paragraph 22 and based on this lack of information and belief deny the allegations therein.
27           23. Defendants lack information or belief sufficient to enable defendants to answer
28   Paragraph 23 and based on this lack of information and belief deny the allegations therein.
29           24. Defendants deny every allegation contained in Paragraph 24 and further deny that
30   plaintiff was injured or damaged in any sum, or at all.
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
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     DEMAND FOR JURY TRIAL
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 1           25. Defendants deny every allegation contained in Paragraph 25 and further deny that
 2   plaintiff was injured or damaged in any sum, or at all.
 3           26. Defendants deny every allegation contained in Paragraph 26.
 4                                         THIRD CAUSE OF ACTION
 5                                                Fraud and Deceit
 6       (Mario Juarez, an individual, Mario Juarez, realtor, “The Mario Juarez Selling Team”
 7                                           Fireside California Group
 8           27. Defendants incorporate herein by reference, as though fully set forth at length,
 9   defendants’ answers to Paragraphs 1 through 26.
10           28. Paragraph 28 contains no allegations against these defendants and no response is
11   necessary. However, should a response be deemed necessary, defendants deny every allegation
12   contained therein.
13           29. Paragraph 29 contains no allegations against these defendants and no response is
14   necessary. However, should a response be deemed necessary, defendants deny every allegation
15   contained therein.
16           30. Paragraph 30 contains no allegations against these defendants and no response is
17   necessary. However, should a response be deemed necessary, defendants deny every allegation
18   contained therein.
19           31. Paragraph 31 contains no allegations against these defendants and no response is
20   necessary. However, should a response be deemed necessary, defendants deny every allegation
21   contained therein.
22           32. Paragraph 32 contains no allegations against these defendants and no response is
23   necessary. However, should a response be deemed necessary, defendants deny every allegation
24   contained therein.
25           33. Paragraph 33 contains no allegations against these defendants and no response is
26   necessary. However, should a response be deemed necessary, defendants deny every allegation
27   contained therein.
28           34. Paragraph 34 contains no allegations against these defendants and no response is
29   necessary. However, should a response be deemed necessary, defendants deny every allegation
30   contained therein.
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
32   PROPERTY, FRAUD AND DECEIT, CONVERSION, FRAUDULENT
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     DEMAND FOR JURY TRIAL
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 1                                       FOURTH CAUSE OF ACTION
 2                                     Conversion (Theft & Embezzlement)
 3      (Mario Juarez, an individual, Mario Juarez, realtor, “The Mario Juarez Selling Team”)
 4           35. Defendants incorporate herein by reference, as though fully set forth at length,
 5   defendants’ answers to Paragraphs 1 through 34.
 6           36. Paragraph 36 contains no allegations against these defendants and no response is
 7   necessary. However, should a response be deemed necessary, defendants deny every allegation
 8   contained therein.
 9           37. Paragraph 37 contains no allegations against these defendants and no response is
10   necessary. However, should a response be deemed necessary, defendants deny every allegation
11   contained therein.
12           38. Paragraph 38 contains no allegations against these defendants and no response is
13   necessary. However, should a response be deemed necessary, defendants deny every allegation
14   contained therein.
15           39. Paragraph 39 contains no allegations against these defendants and no response is
16   necessary. However, should a response be deemed necessary, defendants deny every allegation
17   contained therein.
18           40. Paragraph 40 contains no allegations against these defendants and no response is
19   necessary. However, should a response be deemed necessary, defendants deny every allegation
20   contained therein.
21                                         FIFTH CAUSE OF ACTION
22                        Fraudulent Transfer (California Civil Code 3439-3439.12)
23           (Mario Juarez, an individual, Mario Juarez, realtor, ‘The Mario Juarez Selling Team”)
24           41. Defendants incorporate herein by reference, as though fully set forth at length,
25   defendants’ answers to Paragraphs 1 through 40.
26           42. Paragraph 42 contains no allegations against these defendants and no response is
27   necessary. However, should a response be deemed necessary, defendants deny every allegation
28   contained therein.
29
30
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
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                                                                         100 Larkspur Landing Circle, Suite 212
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     DEMAND FOR JURY TRIAL
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 1           43. Paragraph 43 contains no allegations against these defendants and no response is
 2   necessary. However, should a response be deemed necessary, defendants deny every allegation
 3   contained therein.
 4           44. Paragraph 44 contains no allegations against these defendants and no response is
 5   necessary. However, should a response be deemed necessary, defendants deny every allegation
 6   contained therein.
 7           45. Paragraph 45 contains no allegations against these defendants and no response is
 8   necessary. However, should a response be deemed necessary, defendants deny every allegation
 9   contained therein.
10           46. Paragraph 46 contains no allegations against these defendants and no response is
11   necessary. However, should a response be deemed necessary, defendants deny every allegation
12   contained therein.
13                                         SIXTH CAUSE OF ACTION
14     Mario Juarez, an individual, Mario Juarez, relator, ‘The Mario Juarez Selling Team” and
15   Erika Jordening Unfair, Unlawful and Deceptive Business Practices in Violation of Calif. B &
16                                                     P §17200
17           47. Defendants incorporate herein by reference, as though fully set forth at length,
18   defendants’ answers to Paragraphs 1 through 46.
19           48. Paragraph 48 contains no allegations against these defendants and no response is
20   necessary. However, should a response be deemed necessary, defendants deny every allegation
21   contained therein.
22           49. Paragraph 49 contains no allegations against these defendants and no response is
23   necessary. However, should a response be deemed necessary, defendants deny every allegation
24   contained therein.
25           50. Paragraph 50 contains no allegations against these defendants and no response is
26   necessary. However, should a response be deemed necessary, defendants deny every allegation
27   contained therein.
28           51. Paragraph 51 contains no allegations against these defendants and no response is
29   necessary. However, should a response be deemed necessary, defendants deny every allegation
30   contained therein.
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
32   PROPERTY, FRAUD AND DECEIT, CONVERSION, FRAUDULENT
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     DEMAND FOR JURY TRIAL
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 1           52. Paragraph 52 contains no allegations against these defendants and no response is
 2   necessary. However, should a response be deemed necessary, defendants deny every allegation
 3   contained therein.
 4           53. Paragraph 53 contains no allegations against these defendants and no response is
 5   necessary. However, should a response be deemed necessary, defendants deny every allegation
 6   contained therein.
 7           54. Paragraph 54 contains no allegations against these defendants and no response is
 8   necessary. However, should a response be deemed necessary, defendants deny every allegation
 9   contained therein.
10           55. Paragraph 55 contains no allegations against these defendants and no response is
11   necessary. However, should a response be deemed necessary, defendants deny every allegation
12   contained therein.
13           56. Paragraph 56 contains no allegations against these defendants and no response is
14   necessary. However, should a response be deemed necessary, defendants deny every allegation
15   contained therein.
16   Claims against Mario Juarez and The Mario Juarez Selling Team
17           57. Paragraph 57 contains no allegations against these defendants and no response is
18   necessary. However, should a response be deemed necessary, defendants deny every allegation
19   contained therein.
20                                       SEVENTH CAUSE OF ACTION
21       Mario Juarez, an individual, Mario Juarez, realtor, “The Mario Juarez Selling Team”
22                   Intentional and Negligent Interference with Prospective Advantage
23           58. Defendants incorporate herein by reference, as though fully set forth at length,
24   defendants’ answers to Paragraphs 1 through 57.
25           59. Paragraph 59 contains no allegations against these defendants and no response is
26   necessary. However, should a response be deemed necessary, defendants deny every allegation
27   contained therein.
28           60. Paragraph 60 contains no allegations against these defendants and no response is
29   necessary. However, should a response be deemed necessary, defendants deny every allegation
30   contained therein.
31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                 ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
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     DEMAND FOR JURY TRIAL
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 1           61. Paragraph 61 contains no allegations against these defendants and no response is
 2   necessary. However, should a response be deemed necessary, defendants deny every allegation
 3   contained therein.
 4           62. Paragraph 62 contains no allegations against these defendants and no response is
 5   necessary. However, should a response be deemed necessary, defendants deny every allegation
 6   contained therein.
 7           63. Paragraph 63 contains no allegations against these defendants and no response is
 8   necessary. However, should a response be deemed necessary, defendants deny every allegation
 9   contained therein.
10           64. Paragraph 64 contains no allegations against these defendants and no response is
11   necessary. However, should a response be deemed necessary, defendants deny every allegation
12   contained therein.
13           65. Paragraph 65 contains no allegations against these defendants and no response is
14   necessary. However, should a response be deemed necessary, defendants deny every allegation
15   contained therein.
16           66. Paragraph 66 contains no allegations against these defendants and no response is
17   necessary. However, should a response be deemed necessary, defendants deny every allegation
18   contained therein.
19                                        EIGHTH CAUSE OF ACTION
20                            Mario Juarez, an individual, Mario Juarez, realtor,
21                                       ‘The Mario Juarez Selling Team”
22                  Intentional Interference with the Right to Pursue a Lawful Business
23           67. Paragraph 67 contains no allegations against these defendants and no response is
24   necessary. However, should a response be deemed necessary, defendants deny every allegation
25   contained therein.
26           68. Paragraph 68 contains no allegations against these defendants and no response is
27   necessary. However, should a response be deemed necessary, defendants deny every allegation
28   contained therein.
29
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31
     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                  ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
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 1                                              AFFIRMATIVE DEFENSES
 2            AS A FIRST AFFIRMATIVE DEFENSE to the complaint and each and every claim for
 3   relief of the complaint, there is a lack of subject matter jurisdiction.
 4            AS A SECOND AFFIRMATIVE DEFENSE to the complaint and each and every claim for
 5   relief of the complaint, there is a failure to join a party under Federal Rules of Civil Procedure, Rule
 6   19.
 7            AS A THIRD AFFIRMATIVE DEFENSE to the complaint and each and every claim for
 8   relief of the complaint, the action is stayed by pending bankruptcy proceedings of Cecilia Mendez/
 9   Terracota, LLC, pursuant to 11 U.S.C. § 362.
10            AS A FOURTH AFFIRMATIVE DEFENSE to the complaint and each and every claim for
11   relief of the complaint, plaintiff lacks capacity to sue.
12            AS A FIFTH AFFIRMATIVE DEFENSE to the complaint and each and every claim for
13   relief of the complaint, the applicable statute of limitations, including but not limited to, California
14   Code of Civil Procedure, sections 340, 339, 338 and 337.
15            AS A SIXTH AFFIRMATIVE DEFENSE to the complaint and each and every claim for
16   relief of the complaint, plaintiff’s complaint is barred by the doctrine of res judicata.
17            AS A SEVENTH AFFIRMATIVE DEFENSE to the complaint and each and every claim
18   for relief of the complaint, plaintiff is collaterally estopped in this action from contesting issues
19   resolved in prior litigation between the parties.
20            AS AN EIGHTH AFFIRMATIVE DEFENSE to the complaint and each and every claim for
21   relief of the complaint, plaintiff acknowledged, ratified, consented to and acquiesced in the alleged
22   acts of omission, if any, of this defendant, thus barring plaintiff’s recovery.
23            AS A NINTH AFFIRMATIVE DEFENSE to the complaint and each and every claim for
24   relief of the complaint, plaintiff’s complaint, and each cause of action therein, is barred by the
25   doctrine of laches.
26            AS A TENTH AFFIRMATIVE DEFENSE to the complaint and each and every claim for
27   relief of the complaint, plaintiff’s complaint, and each cause of action therein, is barred by the
28   doctrine of unclean hands.
29            AS AN ELEVENTH AFFIRMATIVE DEFENSE to the complaint and each and every
30   claim for relief of the complaint, that if any damages are awarded to plaintiff, the amount of
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     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                  ALLMAN & NIELSEN, P.C.
     TO COMPLAINT FOR TRESPASS, EJECTION FROM PRIVATE
32   PROPERTY, FRAUD AND DECEIT, CONVERSION, FRAUDULENT
                                                                          100 Larkspur Landing Circle, Suite 212
                                                                                   Larkspur, CA 94939
     TRANSFER, UNLAWFUL BUSINESS PRACTICES, INTENTIONAL &
     NEGLIGENT INTERFERENCE PROSPECTIVE ADVANTAGE, AND               Telephone: 415.461.2700 Facsimile: 415.461.2726
     INTERFERENCE WITH RIGHT TO PURSUE LAWFUL BUSINESS;
     DEMAND FOR JURY TRIAL
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 1   damages awarded to plaintiff should be offset by any amount owed by plaintiff to defendants for
 2   expensed incurred by defendants on plaintiff’s behalf due to plaintiff’s own negligence, carelessness
 3   or other fault in amounts presently unascertained. Defendants will amend this answer to set forth
 4   said amount(s) when ascertained.
 5           AS A TWELFTH AFFIRMATIVE DEFENSE to the complaint and each and every claim
 6   for relief of the complaint, plaintiff was partially, if not wholly, negligent or otherwise at fault on its
 7   own part and should be barred from recovery of that portion of the damages directly attributable to
 8   its proportionate share of the negligence or fault, pursuant to the doctrine of comparative
 9   negligence.
10           AS A THIRTEENTH AFFIRMATIVE DEFENSE to the complaint and each and every
11   claim for relief of the complaint, the damages sustained by plaintiff, if any, were caused, in whole
12   or in part, by the negligence or fault of others for which this defendants are not liable or responsible.
13           AS A FOURTEENTH AFFIRMATIVE DEFENSE to the complaint and each and every
14   claim for relief of the complaint, the complaint does not state facts sufficient to constitute a claim
15   for relief against these defendants.
16           AS A FIFTHTEENTH AFFIRMATIVE DEFENSE to the complaint and each and every
17   claim for relief of the complaint, plaintiff lacks standing to bring the claim for relief pled in the
18   Complaint.
19           AS A SIXTHTEENTH AFFIRMATIVE DEFENSE to the complaint and each and every
20   claim for relief of the complaint, plaintiff has waived and/or is estopped from alleging the matters
21   set forth in said complaint.
22           AS A SEVENTEEN AFFIRMATIVE DEFENSE to the complaint and each and every claim
23   for relief of the complaint, plaintiff failed to mitigate its damages.
24           AS AN EIGHTEENTH AFFIRMATIVE DEFENSE to the complaint and each and every
25   claim for relief of the complaint, plaintiff has failed to state a claim upon which attorney’s fees can
26   be awarded.
27           AS A NINETEENTH AFFIRMATIVE DEFENSE to the complaint and each and every
28   claim for relief of the complaint, plaintiff’s claims for injunctive relief are moot.
29           AS A TWENTIETH AFFIRMATIVE DEFENSE to the complaint and each and every claim
30   for relief of the complaint, defendants presently have insufficient knowledge or information on
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     ANSWER OF EDWIN RAMIREZ, JIMENA OLMOS, JENNIFER JUAREZ                  ALLMAN & NIELSEN, P.C.
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     DEMAND FOR JURY TRIAL
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 1   which to form a belief as to whether he may have additional, as yet unstated, defenses available.
 2   Defendants reserve herein the right to assert additional defenses in the event discovery indicates that
 3   they would be appropriate.
 4           WHEREFORE, Defendants EDWIN RAMIREZ, JIMENA OLMOS, AND JENNIFER
 5   JUAREZ, pray judgment as follows:
 6           1.      That plaintiff take nothing against defendants by reason of the complaint;
 7           2.      For defendants’ attorneys fees and costs and expenses of suit incurred herein;
 8           3.      Alternatively, if defendants are found liable to plaintiff, for an apportionment of
 9                   plaintiff’s damages, if any, in proportion to the shares of fault attributable to plaintiff
10                   and/or third parties; and
11           4.      For such other and further relief as the court may deem just and proper.
12                                        DEMAND FOR JURY TRIAL
13           Defendants EDWIN RAMIREZ, JIMENA OLMOS, AND JENNIFER JUAREZ, hereby
14   demand a trial by jury.
15
     Dated: September 15, 2010                                ALLMAN & NIELSEN, P. C.
16
17                                                     By:               /s/
                                                              Sara B. Allman, Esq.
18                                                            Attorneys for Defendants
19                                                            EDWIN RAMIREZ, JIMENA OLMOS,
                                                              AND JENNIFER JUAREZ
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     DEMAND FOR JURY TRIAL
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